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MEMORANDUM OPINION

No. 04-08-00467-CR
&nbsp;
Ricardo NICHOLS,
Appellant

v.

The STATE of Texas,
Appellee

From the 379th Judicial District Court, Bexar County, Texas
Trial Court No. 2007-CR-10357
Honorable Bert Richardson, Judge Presiding

PER CURIAM
&nbsp;
Sitting:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Phylis J. Speedlin, Justice
Rebecca Simmons, Justice
Steven C. Hilbig, Justice
&nbsp;
Delivered and Filed:&nbsp;&nbsp;&nbsp;August 13, 2008

DISMISSED
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;The trial court’s certification in this appeal states that “this criminal case is a plea-bargain
case, and the defendant has NO right of appeal.”  Rule 25.2(d) of the Texas Rules of Appellate
Procedure provides that an appeal “must be dismissed if a certification that shows the defendant has
the right of appeal has not been made part of the record under these rules.”  Tex. R. App. P. 25.2(d). 
The clerk’s record, which was filed on CD-ROM, contains a written plea bargain, and the
punishment assessed did not exceed the punishment recommended by the prosecutor and agreed to
by the defendant; therefore, the clerk’s record supports the trial court’s certification that defendant
has no right of appeal.  See Tex. R. App. P. 25.2(a)(2).  In addition, appellant’s counsel has filed a
letter in which she states that she has reviewed the electronic clerk’s record and “can find no right
of appeal for Appellant;” counsel concedes that the appeal must be dismissed.  In light of the record
presented, we agree with appellant’s counsel that Rule 25.2(d) requires this court to dismiss this
appeal.  Tex. R. App. P. 25.2(d).  Accordingly, the appeal is dismissed.  See Tex. R. App. P. 25.2(d).
&nbsp;
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;PER CURIAM
&nbsp;
DO NOT PUBLISH


